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                              United States District Court
                               Middle District of Florida
                                 Jacksonville Division

                                      In Admiralty

IN RE CHARLES E. COLLIER AND
CHARLES E. COLLIER, JR.,                                    NO. 3:20-CV-119-J-39PDB

                Plaintiffs.



                                          Order

       In this action under the Limitation of Liability Act, 46 U.S.C. §§ 30501–
12, the plaintiffs move for entry of default against Kenneth Saitta, Amica (an
insurance company), Progressive American Insurance Company, and any other
person who failed to timely file a claim in this action. 1 Doc. 40. The law on
limitation-of-liability actions is in the order entered on April 22, 2020. Doc. 22.

       The plaintiffs seek exoneration from, or limitation of, liability to others
for damages relating to an August 11, 2019, fire on their vessel, the M/Y C Salt
(hull ID number CDRP0033I192) while docked at a marina in Marineland,
Florida. Doc. 1. In October 2019, Saitta (through someone on his behalf)
demanded damages from the plaintiffs for the damage to his vessel. Doc. 1 ¶ 11.
The plaintiffs filed this action in January 2020. Doc. 1.




       1“When  a party against whom a judgment for affirmative relief is sought has failed to
plead or otherwise defend, … the clerk must enter the party’s default.” Fed. R. Civ. P. 55(a).
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      In April 2020, the Court granted a motion by the plaintiffs to approve
security for the vessel and a “Notice to Claimants.” Doc. 22 at 4. The notice
states:

      NOTICE IS HEREBY GIVEN that the plaintiffs, Charles E.
      Collier and Charles E. Collier, Jr., as owners of the M/Y C SALT,
      a 33 ft Carver aft cabin motor yacht with Hull ID Number
      CDRP0033I192 (“the vessel”), have filed a complaint under 46
      U.S.C. §§ 30501–30512, in the U.S. District Court for the Middle
      District of Florida, Case No. 3:20-cv-119. In the complaint, they
      assert the right to exoneration from, or limitation of, liability for
      any claim resulting from personal injury, property damage, or
      other loss occurring on or about August 11, 2019, when the vessel
      was involved in a fire while docked at the Marineland City Marina,
      as more fully described in the complaint. Anyone with such a claim
      must, by June 16, 2020, file the claim with the Clerk of Court,
      U.S. District Court for the Middle District of Florida, Jacksonville
      Division, Bryan Simpson U.S. Courthouse, 300 N. Hogan St.,
      Jacksonville, FL 32202, and serve a copy on the plaintiffs’
      attorney, Eric Thiel, Esquire, Banker Lopez Gassler P.A., 501 E.
      Kennedy Blvd, Ste. 1700, Tampa, FL 33602. Anyone wanting to
      contest the complaint allegations also must file an answer to the
      complaint with the Clerk of Court and serve a copy on the
      plaintiffs’ attorney. FAILURE TO FILE A CLAIM OR
      ANSWER BY JUNE 16, 2020, MAY RESULT IN THE WAIVER
      OF A RIGHT TO FILE A CLAIM OR ANSWER.

Doc. 23.

      The Court directed the plaintiffs to:

      (a) publish the separately entered “Notice to Claimants” in a
      newspaper of general circulation in both St. Johns and Flagler
      Counties once a week for four consecutive weeks before May 15,
      2020; (b) provide the Court with proof of publication in accordance
      with Local Rule 7.06(b); and (c) mail a copy of the “Notice to
      Claimants” to all known claimants by the second date of
      publication.


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Doc. 22 at 4.

       In May and June 2020, the plaintiffs filed two affidavits by newspaper
employees and notices explaining the plaintiffs had timely published the
“Notice to Claimants” once a week for four consecutive weeks in the St.
Augustine Record in St. Johns County and the Flagler/Palm Coast News
Tribune in Flagler County. Docs. 25–25-1, 30–30-1. The plaintiffs also filed a
notice stating they had mailed the complaint, the “Notice to Claimants,” and
the order approving the security to Town of Marineland Marina, Salty Marine
Services, 2 Robert Livingston, Saitta, Amica, and Progressive. Doc. 26.

       On June 16, 2020, Livingston and “Town of Marineland” (a municipal
corporation) filed answers and claims. Docs. 28, 29. No one else has filed a
claim, and the time to do so has passed. The plaintiffs since have settled any
claim with Livingston and the town. Docs. 42–45.

       The plaintiffs have complied with notice requirements. The Court
grants the motion, Doc. 22, and directs the Clerk of Court to enter defaults
against Kenneth Saitta, Amica, Progressive American Insurance Company,
and anyone else except Robert Livingston and Town of Marineland for any
claim for personal injury, property damage, or other loss resulting from the
August 11, 2019, fire on the M/Y C Salt (hull ID number CDRP0033I192) in




       2Salty Marine Services, Inc., towed the plaintiffs’ boat and refused to return it over a
payment dispute, and the plaintiffs filed a separate action for possession of the boat. Doc. 1
¶¶ 3, 15–17; see 3:20-cv-132-J-39PDB (related action). In April 2020, the plaintiffs and Salty
Marine Services settled that action. 3:20-cv-132 (Docs. 36, 37).

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Marineland, Florida.

     Ordered in Jacksonville, Florida, on January 11, 2021.




c:   Kenneth Saitta
     350 Garden Lane
     Atlantic Beach, FL 32233

     Amica
     Claims Processing
     P.O. Box 9690
     Providence, RI 02940

     Progressive American Insurance Co.
     Attn: Julie Lopez
     4119 Foxworth Road
     Riverview, FL 33578




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